                                         Case 3:21-cv-06326-RS             Document 98     Filed 12/31/24     Page 1 of 5




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                                   7                                     UNITED STATES DISTRICT COURT

                                   8                                    NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                         JENNIFER PARDO, EVANGELINE
                                  10     MATTHEWS, individually and on behalf of            Case No. 21-cv-06326-RS
                                         all others similarly situated,
                                  11
                                                          Plaintiffs,                       ORDER DENYING MOTION FOR
                                  12                                                        CLASS CERTIFICATION
Northern District of California




                                                   v.
 United States District Court




                                  13
                                         PAPA, INC.,
                                  14
                                                          Defendant.
                                  15

                                  16                                            I. INTRODUCTION
                                  17             Named plaintiffs Jennifer Pardo and Evangeline Matthews contend defendant Papa, Inc.
                                  18   wrongfully classified them and similarly situated workers as independent contractors, thereby
                                  19   depriving them of overtime and minimum wage compensation. Plaintiffs previously obtained an
                                  20   order “certifying” this matter as a collective action under 216(b) of the Fair Labor Standards Act
                                  21   (“FLSA”), 29 U.S.C. § 201 et seq., thereby permitting dissemination of notice to other workers of
                                  22   their right to “opt-in” to the FLSA collective. Numerous individuals have since submitted “opt-in”
                                  23   notices.
                                  24             Pardo and Matthews now seek certification of a class under Rule 23 of the Federal Rules
                                  25   of Civil Procedure. Pursuant to Civil Local Rule 7-1(b), the motion is suitable for disposition
                                  26   without oral argument, and the hearing set for January 9, 2025, is vacated. The motion will be
                                  27   denied.
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                                           Case 3:21-cv-06326-RS          Document 98          Filed 12/31/24     Page 2 of 5




                                   1                                             II. BACKGROUND

                                   2           Papa operates a mobile phone application that allows senior adults and their families to

                                   3   obtain services of “Papa Pals”—assistants who can provide help with shopping or other household

                                   4   tasks, or merely companionship. Papa contends the Pals are independent contractors, who use the

                                   5   application to schedule as much or as little work as they like, and who operate primarily at the

                                   6   direction of the seniors, or the seniors’ families, and free from direct supervision by Papa.

                                   7   Plaintiffs contend the Pals are employees, trained by Papa and subject to strict rules and

                                   8   procedures.

                                   9           Plaintiffs seek to certify a class consisting of “[a]ll individuals who performed work for

                                  10   Defendant in the state of California who were classified as independent contractors from four

                                  11   years prior to the filing of this action, from August 18, 2018, to the date of trial.” Plaintiffs assert

                                  12   that as of February 1, 2024, there were 3,750 individuals within that definition, according to
Northern District of California
 United States District Court




                                  13   records produced by Papa.

                                  14           In opposition to class certification, Papa offers the declaration of its Chief Financial

                                  15   Officer, Dani Bchara, who asserts, among other things, that an “independent contractor

                                  16   agreement— previously called the End User License Agreement (“EULA”) and currently called

                                  17   the Papa Pal Agreement, together the “Pal Agreement”—governs the relationship between Papa

                                  18   and Pals.” Bchara Decl., para. 8. Bchara further declares that the Pal Agreement contains an

                                  19   arbitration clause, with a waiver of the right to participate in a class action, and that over 99.9% of

                                  20   Pals in California are subject to that arbitration clause and class waiver.

                                  21           Papa has not provided the text of the arbitration clause and class waiver. Nor does Papa

                                  22   explain how Pardo and Matthews apparently were able to reject the arbitration clause and class

                                  23   waiver, although it appears to concede they are not subject to it.1 While Papa’s evidentiary

                                  24   showing that over 99.9% of putative class members are bound by the arbitration agreement and

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                                        In conjunction with the FLSA certification, Papa previously asserted Pardo was bound by the
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                                       arbitration clause and that it intended to move to compel arbitration of her claims. Papa has
                                  27   apparently abandoned that position.

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                                                                                                                     CASE NO. 21-cv-06326-RS
                                                                                           2
                                         Case 3:21-cv-06326-RS            Document 98          Filed 12/31/24     Page 3 of 5




                                   1   class waiver is less robust than might be preferred, plaintiffs do not challenge the factual accuracy

                                   2   of Bchara’s declaration. Accordingly, it must be accepted for purposes of this motion that only a

                                   3   tenth of one percent, or fewer, of the putative class members are not potentially barred from

                                   4   participating in any class action involving the claims alleged in the complaint.

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                                   6                                         III. LEGAL STANDARDS

                                   7           Rule 23(a) provides that a court may certify a class only if: “(1) the class is so numerous

                                   8   that joinder of all members is impracticable; (2) there are questions of law or fact common to the

                                   9   class; (3) the claims or defenses of the representative parties are typical of the claims or defenses

                                  10   of the class; and (4) the representative parties will fairly and adequately protect the interests of the

                                  11   class.” These requirements are commonly referred to as numerosity, commonality, typicality, and

                                  12   adequacy. Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012).
Northern District of California
 United States District Court




                                  13           If all four Rule 23(a) prerequisites are satisfied, a court must also find that plaintiffs

                                  14   “satisfy through evidentiary proof” at least one of the three subsections of Rule 23(b). Comcast

                                  15   Corp. v. Behrend, 133 S. Ct. 1426 (2013). Relevant here is Rule 23(b)(3), which permits

                                  16   certification if a court finds that “questions of law or fact common to class members predominate

                                  17   over any questions affecting only individual members, and that a class action is superior to other

                                  18   available methods for fairly and efficiently adjudicating the controversy.” These requirements are

                                  19   often referred to as predominance and superiority. The class certification analysis may “entail

                                  20   some overlap with the merits of the plaintiff’s underlying claim.’” Amgen Inc. v. Conn. Ret. Plans

                                  21   and Trust Funds, 133 S. Ct. 1184, 1194 (2013) (quoting Dukes, 131 S. Ct. at 2551).

                                  22           Nevertheless, “Rule 23 grants courts no license to engage in free-ranging merits inquiries

                                  23   at the certification stage.” Amgen, 133 S. Ct. at 1194–95. “Merits questions may be considered to

                                  24   the extent—but only to the extent—that they are relevant to determining whether the Rule 23

                                  25   prerequisites for class certification are satisfied.” Id. at 1195.

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                                                                                                                     CASE NO. 21-cv-06326-RS
                                                                                           3
                                           Case 3:21-cv-06326-RS        Document 98          Filed 12/31/24    Page 4 of 5




                                   1                                            IV. DISCUSSION

                                   2          Although Papa challenges the adequacy of plaintiffs’ showing on several of the requisites

                                   3   for certification, a threshold dispositive issue compels denial of the motion. As noted above, the

                                   4   claims of the named plaintiffs are not subject to an arbitration agreement and class waiver. In

                                   5   contrast, the claims of over 99.9% of the members of the class are subject to the arbitration

                                   6   agreement and class waiver. District courts in this circuit routinely conclude that plaintiffs who are

                                   7   not subject to an arbitration agreement cannot represent a class of persons who are. See Andrade v.

                                   8   Am. First Fin., Inc., 2022 WL 3369410, at *4 (N.D. Cal. Aug. 16, 2022) (collecting cases).2

                                   9          The differences between named plaintiffs who are not subject to an arbitration agreement

                                  10   and potential class members who are defeats “typicality” and/or renders the named plaintiffs

                                  11   inadequate representatives. Id. Additionally, in this case it could defeat numerosity, although Papa

                                  12   did not specifically address that point. If the class were limited to those who, like Pardo and
Northern District of California
 United States District Court




                                  13   Mathews, are not subject to the arbitration agreement and class waiver, the class might number

                                  14   fewer than five individuals. (.1 percent of 3750 putative class members is 3.75—even assuming

                                  15   the number of Pals fitting the definition were to rise by several thousand prior to trial, the number

                                  16   of individuals not subject to the arbitration and class waiver likely would be well below the

                                  17   threshold for class actions.)

                                  18          As noted, plaintiffs have not challenged Papa’s claim that over 99.9% of the potential class

                                  19   members are subject to the arbitration agreement and class waiver. Plaintiffs’ only response on the

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                                         Garcia v. Cent. Coast Rests., Inc., 2022 WL 657972, at *4-5 (N.D. Cal. Mar. 4, 2022) does not
                                  22   compel a different result. There, a plaintiff who had successfully shown the arbitration agreement
                                       was legally unenforceable as to herself was allowed to lead a class seeking to show the arbitration
                                  23   agreement was unconscionable on broader, class-wide grounds. As Garcia expressly recognized,
                                       however, the Ninth Circuit has foreclosed the possibility of a plaintiff who opts out of an
                                  24   arbitration agreement then representing a class of people who did not opt out. Although the record
                                       is unclear as to exactly how Pardo and Matthews avoided the arbitration agreement and class
                                  25   waiver, they did not do so by having it declared unenforceable, and are therefore effectively in the
                                  26   position of “opt-outs.”

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                                                                                                                  CASE NO. 21-cv-06326-RS
                                                                                         4
                                           Case 3:21-cv-06326-RS         Document 98          Filed 12/31/24     Page 5 of 5




                                   1   topic is an argument that the arbitration agreement and class waiver presents an affirmative

                                   2   defense, which can and should be raised by any affected class members after certification.

                                   3          It is true that the mere availability of affirmative defenses against individual members will

                                   4   not typically preclude class certification. See Rodman v. Safeway Inc., 2015 WL 2265972, at *3

                                   5   (N.D. Cal. May 14, 2015). Here, however, the “affirmative defense” implicates who may even

                                   6   participate in the class, as well as the named plaintiffs’ suitability to represent others who are in an

                                   7   unlike position. See Andrade, 2022 WL 3369410, at *5 (“arbitration and waiver of the right to

                                   8   class action are threshold determinations that must be made before the Court can determine

                                   9   whether an individual is part of a putative class and whether this matter may proceed as a class

                                  10   action.”). Accordingly, the motion for certification must be denied.3

                                  11

                                  12                                            V. CONCLUSION
Northern District of California
 United States District Court




                                  13          The motion for class certification is denied. The parties shall appear for a further Case

                                  14   Management Conference on January 30, 2025, with a joint statement filed one week in advance.

                                  15

                                  16   IT IS SO ORDERED.

                                  17

                                  18   Dated: December 31, 2024

                                  19                                                     ______________________________________
                                                                                         RICHARD SEEBORG
                                  20                                                     Chief United States District Judge
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                                         The question of what impact, if any, the arbitration agreement and class waiver may have on the
                                  26
                                       right of the named plaintiffs and the individuals who have opted in to the FLSA collective action
                                  27   to proceed thereunder is not before the court at this juncture.

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                                                                                                                    CASE NO. 21-cv-06326-RS
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